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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
AMERICAN FOREIGN SERVICE            )
ASSOCIATION, et al.,                )
                                    )
                  Plaintiffs,       )        Civil Action No. 1:25-CV-352
                                    )
            v.                      )
                                    )
DONALD TRUMP, et al.,               )
                                    )
                  Defendants.       )
___________________________________ )


                       DECLARATION OF NANCY DOE

      I, Nancy Doe, declare the following under penalties of perjury:

      1.     I am over 18 years of age and competent to give this declaration. This

declaration is based on my personal knowledge, information, and belief.

      2.     I am a member of the American Foreign Service Association.

      3.     I am a tenured, commissioned, USAID Foreign Service Officer. I am

assigned to the USAID/DRC and Central Africa Mission in Kinshasa, Congo. I serve

as an Office Director managing $35 million annually in USAID activities.

      4.     On Tuesday, January 28, 2025, we were asked to remain in our

residences in Kinshasa and telework due to the possibility of violent protests in the

city in response to the Congolese rebel movement M23 and the Rwandan Defense

Forces capturing control of Goma in the east. I spent the day keeping in touch with

staff and monitoring the security situation. That night we were informed by the

Ambassador that the Embassy would move to Ordered Departure, and we should be
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on standby to leave Post. The route for evacuation was determined to be crossing the

river to Brazzaville, Republic of Congo by boat and then charter flight from

Brazzaville to Washington DC. My spouse and I packed one small carry-on suitcase

which was all we were allowed to take along with our pet. We departed with other

Embassy staff early on the morning of January 29 to Brazzaville where we remained

until January 30. We and other staff took a charter flight to Washington DC. My

spouse and I stayed one night at the airport hotel with the other personnel and then

relocated to stay with family in the Washington area. Since that time, I have been

doing my best to remain in contact with locally employed staff that I supervise in

Kinshasa and monitor the security situation from afar, while completing any official

tasks I am able to still perform due to the freeze on foreign assistance and shutdown

of USAID offices.

      5.     Due to the freeze on foreign assistance, stop work orders to USAID

implementing partners, and restriction on communicating with implementing

partners, I am unable to confirm the whereabouts of US Government funded assets

in DRC. I am unable to conduct my normal assessment of the security situation in

DRC, including verification and coordination with implementing partners, to apprise

senior leadership in USAID and the US Embassy to make informed security

decisions. I have been unable to supervise the staff I am responsible for, nor

reasonably expect them to complete work tasks for which they are being paid, the

majority of which are program management and oversight responsibilities that are

now frozen due to the SWOs.



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      6.     Due to the shutdown of USAID systems and services, I have been unable

to obtain a USG travel card and have been forced to use my own personal credit card

to pay for costs associated with ordered departure, which ordinarily are required to

be paid with a USG travel card. I am not certain that I will be reimbursed for the

expenses I have been required to incur while away from Post -- I am staying with

family rather than at a hotel or furnished apartment in order to avoid being out of

pocket for lodging costs that no one can guarantee will be reimbursed at this point; I

have had to buy replacement clothing and other necessary supplies which may not be

reimbursed. I am unable to confirm that I will be able to travel back to Post to pack

out my household effects and I am worried we will never see our possessions again,

or that if they are packed out by someone other than us, items will be stolen or

damaged. I am eligible for retirement and had submitted a request to begin that

process and have not received responses from USAID/HCTM and am uncertain

whether I will be able to get my pension. I have been experiencing health

consequences related to extreme stress, anguish, and sleep deprivation due to

worrying about staff, partners, and the situation in general in DRC and not being

able to respond in the way that I normally would.

      I declare under penalty of perjury that the foregoing is true and correct.

      Executed on February 9, 2025.



                                              /s/ Nancy Doe
                                              Nancy Doe




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